                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

 DAREL ADELSBERGER, ET UX                                                             PLAINTIFFS

 V.                                    CASE NO. 4:21-CV-00471-JM

 UNION PACIFIC RAILROAD COMPANY                                                      DEFENDANT


                           MOTION TO CONTINUE TRIAL DATE


       Comes now the Plaintiff, Annette and Darel Adelsberger, by and through their attorneys,

Lassiter & Cassinelli Law Office, and for their Motion to Continue Trial Date state that:

       1.      The above-captioned matter is scheduled for jury trial during the week of

September 19, 2022. Doc. # 9 at ¶ 1.

       2.      On the afternoon of September 12, 2022, the undersigned counsel contacted

Plaintiffs’ expert witness, Dr. Jerry Overton, by telephone to touch base with him prior to trial. Dr.

Overton advised the undersigned counsel that that he had fallen and injured his leg while exercising

in the gym on or about August 15, 2022. Dr. Overton explained that, in the days immediately

following his injury, he felt soreness but did not think anything of it.

       3.      However, towards the end of August, Dr. Overton advised that his condition began

to deteriorate rapidly from his loss of mobility due to his leg injury. By September 1, 2022, Dr.

Overton could no longer get out of his bed unassisted, so he called an ambulance to take him to

the hospital. He was discharged from the hospital to wait at home for an open bed to become

available so that he could receive in-patient rehabilitation treatment.

       4.      During the call, Dr. Overton advised that he expected to be admitted to CHI St.

Vincent Hospital in Hot Springs, Arkansas, sometime that evening, and that his in-patient
treatment would last at least the next two weeks, which would make him unavailable to testify at

trial as it is presently scheduled.

        5.        Dr. Overton is a key witness to the Plaintiffs’ case, and his absence from trial would

cause the Plaintiffs to suffer great prejudice. In addition to offering testimony in Plaintiffs case in

chief, he will also need to be present during other parts of the trial to assist counsel with

management of the case and examination of Defendant’s own expert witness.

        6.        Moreover, based on his phone conversation with Dr. Overton, the undersigned

counsel believes that Dr. Overton’s current physical condition remains very weak, and that his

participation in next week’s trial, even remotely, might be detrimental to his physical

rehabilitation.

        7.        There is good cause to grant Plaintiffs’ request to continue the trial, and the jury

trial presently scheduled for the week of September 19, 2022, should be continued to the next

available setting as the Court’s calendar permits.

        8.        Movant has contacted counsel for Union Pacific, who have advised that Union

Pacific does not oppose Plaintiffs’ request for a continuance.

        WHEREFORE, Plaintiffs Annette and Darel Adelsberger respectfully request that their

Motion be granted in all respects, that the jury trial presently scheduled for the week of September

19, 2022, be continued to the next available setting as the Court’s calendar permits, and for all

other proper relief to which they may be entitled.




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RESPECTFULLY SUBMITTED,

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